Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination



                                       UNITED STATES DISTRICT COURT
                                                                       forthe
                                                       Eastern District of North Carolina

                                                                Western Division



                                                                         )
                                                                                Case No.     5:18-cv-2L!W-BO
                                                                                             (to be filled in by the Clerk's Office)
                                                                         )
                           Bobby Hart
                                                                         )
                             Plaintiff(s)                                )
(Write the full name ofeach plaintiffwho is filing this complaint.
If the names ofall the plaintiffs cannot fit in the space above,         )      Jury Trial: (check one) rgj Yes        D     No
please write "see attached" in the space and attach an additional        )
page with the full list ofnames.)                                        )
                                 -v-                                     )
   Delhaize America Transportation LLC, Med Fast                         )
  Urgent Care, Delhaize America Distribution Center                      )
  Food Lion, Mike Dickey, Richard Eason, Jim Daly                        )
                             Defendant(s)
                                                                         )
(Write the full name of each defendant who is being sued If the          )
names ofall the defendants cannot fit in the space above, please         )
write "see attached" in the space and attach an additional page
with the full list ofnames.)
                                                                         )


                              COMPLAINT FOR EMPLOYMENT DISCRIMINATION

I.        The Parties to This Complaint
          A.         The Plaintiff(s)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.
                               Name                                  Bobby Hart
                                Street Address                       5121 Archer Rd.
                               City and County                       Hope Mills I Cumberland
                                State and Zip Code                   North Carolina, 28348
                               Telephone Number                      (910) 977-6885
                               E-mail Address                        bobhartnc@yahoo.com


          B.         The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person's job or title (if known). Attach additional pages if needed.


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                     Defendant No. 1
                               Name                              Delhaize America Transportation LLC
                               Job or Title (if known)
                               Street Address                    2110 Executive Drive PO Box 1330
                               City and County                   Salisbury I Rowan
                               State and Zip Code                North Carolina., 28145-1330
                               Telephone Number                  910 892-9137
                               E-mail Address (if known)


                     Defendant No. 2
                               Name                              Med Fast Urgent Care
                               Job or Title    arknown)
                               Street Address                    605 W Cumberland Street
                               City and County                   Dunn I Harnett
                               State and Zip Code                North Carolina, 28344
                               Telephone Number                  910 891-1391
                               E-mail Address (if known)


                     Defendant No. 3
                               Name                              Delhaize Distribution Center No. 4/Food Lion
                               Job or Title (ifknown)
                               Street Address                    2940 Arrowhead Rd.
                               City and County                   Dunn I Harnett
                               State and Zip Code                North Carolina., 28334
                               Telephone Number                  910 892-9137
                               E-mail Address       (if known)



                     Defendant No. 4
                               Name                              Mike Dickey
                               Job or Title (if known)           General Manager Distribution Center No. 4
                               Street Address                    2940 Arrowhead Rd.
                               City and County                   Dunn I Harnett
                               State and Zip Code                North Carolina
                               Telephone Number                  910 892-9137
                               E-mail Address (if known)




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Defendant List Continues



Defendant No. 5

 Name                   Richard Eason

 Job                    Human Resources Associate

 Street Address       2940 Arrowhead Rd.

 City and County        Dunn I Harnett

 State and Zip Code     North Carolina, 28334

 Telephone number       910 892-913 7

 E-Mail Address



 Defendant No. 6

   Name                    Jim Daly

   Job                     Transportation Manager

   Street Address          2940 Arrowhead Rd.

   City and County         Dunn I Hamett

   State and Zip Code      North Carolina, 28334

   Telephone Number        910 892-9137

   E-Mail Address




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          C.          Place of Employment

                      The address at which I sought employment or was employed by the defendant(s) is

                               Name                              Delhaize America Distribution Center No, 41 Food Lion
                               Street Address                    2940 Arrowhead Rd.
                               City and County                   Dunn I Harnett
                               State and Zip Code                North Carolina 28334
                               Telephone Number                  910 892-9137


II.       Basis for Jurisdiction

          This action is brought for discrimination in employment pursuant to (check all that apply):

                  [2J            Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e to 2000e-17 (race,
                                 color, gender, religion, national origin).

                                 (Note: In order to bring suit in federal district court under Title VII, you must first obtain a
                                 Notice ofRight to Sue letter from the Equal Employment Opportunity Commission.) .·

                  0              Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C. §§ 621to634.

                                 (Note: In order to bring suit in federal district court under the Age Discrimination in
                                 Employment Act, you must first file a charge with the Equal Employment Opportunity
                                 Commission.)

                                 Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112 to 12117.

                                 (Note: In order to bring suit in federal district court under the Americans with Disabilities
                                 Act, you must first obtain a Notice ofRight to Sue letter from the Equal Employment
                                 Opportunity Commission.)

                                 Other federal law (specifY the federal law):
                                 The Genetic Nondiscrimination Information Act, Equal Pay Act, Retaliation
                                 Relevant state law (specifY, if known):
                                 Health Insurance Portability Accountability Act
                  0              Relevant city or county law (specifY, if known):




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ID.       Statement of Claim

          Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
          involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
          the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
          write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

          A.        The discriminatory conduct of which I complain in this action includes (check all that apply):

                            D             Failure to hire me.
                            D             Termination of my employment.
                            D             Failure to promote me.
                            [gl           Failure to accommodate my disability.
                            D             Unequal terms and conditions of my employment.
                            [gl           Retaliation.
                            [gl           Other acts (specify):     Equal Pay Act, Genetic Information Nondiscrimination Act
                                          (Note: Only those grounds raised in the charge filed with the Equal Employment
                                          Opportunity Commission can be considered by the federal district court under the
                                         federal employment discrimination statutes.)

        B.          It is my best recollection that the alleged discriminatory acts occurred on date(s)
                    From 05/2017 -01/2018


        C.          I believe that defendant(s) (check one):
                            [gl           is/are still committing these acts against me.
                            D             is/are not still committing these acts against me.

        D.          Defendant(s) discriminated against me based on my (check all that apply and explain):
                            D             race
                            D             color
                            D             gender/sex
                            D             religion
                            D            national origin
                            D             age (year ofbirth)                    (only when asserting a claim of age discrimination.)
                            [gl           disability or perceived disability (specify disability)
                                           Flare ups from radiation petites because of treatment
                                           from rectal cancer. Doctor's orders no driving past ten
                                           hours.

        E.          The facts of my case are as follows. Attach additional pages if needed.

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                    1.In December 2012 I had to take a leave of absent from my job because of complication from rectal
                    cancer surgery. I return to work in November 2013 and was given a work accommodation by my
                    employer Delhaize American Transportation LLC and since then my employer hasn't always honor this
                    agreement by taking me past the ten hour driving limit set by my doctor, once in the fall of 2016 and
                    several times in 2017. My employer forster a hostile work enviomment by allowing threats and verbal
                    abuse to continue against me a preson covered by the American with Disabilities Act on 07/22/17 again
                    on 11/21/17 taking no action to stop it.

                    2. My employer keeps unauthorized disclosed health Information on me in their computer system and
                    when I requested that my health Information be removed from their systems by written request to
                    Human Resources I was retaliated against by being suspended from work and denied the right to due
                    process that's afforded to each employee accused of wrokplace misconduct.

                    3. In July of 2017 I complained to HR about being denied FMLA and a day after my complaint my
                    mileage dropped and the number of trips made in a day was cut causing a reduction in my pay. This
                    continued until 02/18. My employer discriminate in its payment system (Activity Base Compensation)
                    by allowing certain drivers to maintaining a constant weekly mileage and drive past fourteen hour duty
                    day set by the Department of Transportation while other drivers mileage fluctuate resulting in drivers at
                    top pay having a $10,000 to $15,000 annual pay difference.

                    4. On 11/08/2017 Med Fast Urgent Care released my health information to Delhaize America
                    Transportation LLC without my authorization after completing a Department of Transportation Phyiscal.
                    When I informed Delhaize America Transportation LLC, DC04 management and human resource that
                    they were not entitled to have my health history, they conspried and retaliation against the plaintiff.


                    (Note: As additional support for the facts ofyour claim, you may attach to this complaint a copy of
                    your charge filed with the Equal Employment Opportunity Commission, or the charge filed with the
                    relevant state or city human rights division.)

IV.     Exhaustion of Federal Administrative Remedies

        A.          It is my best recollection that I filed a charge with the Equal Employment Opportunity Commission or
                    my Equal Employment Opportunity counselor regarding the defendant's alleged discriminatory conduct
                    on (date)

                     12/12/2017

        B.          The Equal Employment Opportunity Commission (check one):
                            D             has not issued a Notice of Right to Sue letter.
                            ~             issued a Notice of Right to Sue letter, which I received on (date)   3/14/2018
                                         (Note: Attach a copy of the Notice ofRight to Sue letter from the Equal Employment
                                         Opportunity Commission to this complaint.)

        C.           Only litigants alleging age discrimination must answer this question.

                    Since filing my charge of age discrimination with the Equal Employment Opportunity Commission
                    regarding the defendant's alleged discriminatory conduct (check one):




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                            D             60 days or more have elapsed.
                            D             less than 60 days have elapsed.

V.      Relief

        State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
        arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include the
        amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any punitive
        or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or punitive
        money damages.
         1. Plaintiff seeks compensatory damages of $300,000 for emotional anguish, and endangering the health of
         plainitff. This is the maximum limit for damages for discrimination under ADA federal law.
         2. Plaintiff seeks punitive damages of $300,000 for egregious indifference disregard for federal law. This is the
         maximum punitive damages for discrimination under ADA federal law.
         3. Plainitff seeks Back Pay damages of $50,000 for monetary loss because of pay discrimnation.
         4. Plainitff seeks order from the court to compel defendant, Delhaize America Transportation LLC to remove
         unauthorize disclosed health information from defendant computer systems.
         5. Plainitff seeks $150,000 in damages for keeping said health information on defendant, Delhaize America
         Transportation LLC computer systems and the dissemination to other.
         6. Plaintiff seeks damages of$ 25,000 from Med Fast Urgent Care for the unauthorized disclosure of health
         information. This is the maximum limit for damages for a one time unauthorize disclosure of health information
         allowed by federal law.
         7. Plaintiff seeks damages of $10,000 from Mike Dickey, $10,000 from Richard Eason, and $5,000 from Jim
         Daly for conspiracy and retaliation aimed to slients the Plaintiff.

VI.     Certification and Closing

        Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
        and belief that this complaint: ( 1) is not being presented for an improper purpose, such as to harass, cause
        unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
        non:frivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
        evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
        opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
        requirements of Rule 11.



        A.          For Parties Without an Attorney

                    I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                    served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                    in the dismissal of my case.


                    Date of signing:          OS    /30 !J<?

                     Signature of Plaintiff             "72,-j ~ ~,_,_,._,.._(±~----
                     Printed Name of Plaintiff                              ..
                                                        ~£'CJJA tz-i"f,________________


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        B.          For Attorneys

                    Date of signing:


                     Signature of Attorney
                    Printed Name of Attorney
                    Bar Number
                     Name of Law Firm
                     Street Address
                     State and Zip Code
                     Telephone Number
                    E-mail Address




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